Case 1:19-cv-00044-LPS Document 190 Filed 05/03/19 Page 1 of 1 PageID #: 7532




                                           May 3, 2019

VIA E-FILING
The Honorable Leonard P. Stark
J. Caleb Boggs Federal Building
844 N. King Street
Room 6124, Unit 26
Wilmington, DE 19801-3556

       RE:    Cipla Ltd., et al. v. Amgen Inc., et al.,
              C.A. No. 19-cv-44-LPS

Dear Chief Judge Stark:

     Plaintiffs Cipla Ltd. and Cipla USA, Inc. (“Cipla”) submit this response to the Defendant
Amgen Inc.’s Motion to Redact Memorandum Opinion (D.I. 189).

       Cipla respectfully submits that the proposed redactions are not consistent with the
requirement that a person reading the transcript would be able to understand the Court’s
reasoning. Therefore, in order to fully understand the Court’s reasoning, Cipla respectfully
submits that the Memorandum Opinion (D.I. 186) be made public without redaction.

        We are available at the Court’s convenience should Your Honor wish to discuss this
matter further.


                                                     Respectfully submitted,

                                                     /s/ Michael J. Farnan

                                                     Michael J. Farnan



cc:    Counsel of Record (via E-File)




   919N. MARKET STREET, 12TH FLOOR, WILMINGTON, DE 19801
PHONE: (302) 777–0300·FAX: (302) 777–0301·WWW.FARNANLAW.COM
